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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                                  CRIMINAL NO. 21-cr-00198 (TSC)

TROY ANTHONY SMOCKS,

                         Defendant.




                UNITED STATES’ MOTION FOR STATUS HEARING AND
                EXCLUSION OF TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this motion for a status hearing and for exclusion of

time in the interests of justice under the Speedy Trial Act, 18 U.S.C. § 3161(h).

       On May 10, 2021, the Court issued a memorandum opinion denying defendant Troy

Anthony Smocks’ motion to dismiss the indictment (Dkt No. 33). Pending before the Court at that

time was the defendant’s motion for leave to file documents and to reopen the hearing on his

motion to dismiss (“motion to reopen hearing”), which had been filed on May 7, 2021 (Dkt No.

30). On May 11, 2021, the Court issued an order staying briefing on the defendant’s motion to

reopen hearing until further order of the Court, and taking the motion to reopen hearing under

advisement (Minute Order, May 11, 2021). The motion to reopen hearing remains pending, but

does not present any new facts or arguments relevant to the motion to dismiss that has already been

resolved.

       It is appropriate that a status hearing be scheduled at the Court’s convenience. It is also

appropriate that the Court issue an order excluding time under the Speedy Trial Act until the status
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hearing in the interests of justice. 18 U.S.C. § 3161(h)(7). Considering the unique circumstances

of this case, exclusion of time and delay of trial clearly outweighs the best interests of the public

and the defendant in a speedy trial. Here, there is a motion pending filed by the defendant, related

to the defendant’s request to dismiss the indictment. Additionally, before there can be a trial, the

parties need additional time to exchange additional discovery and to discuss whether this case will

proceed to trial or whether there may be a pretrial resolution. The pandemic has delayed the

Court’s trial schedule over the past 15 months, and the Chief Judge has issued orders excluding

time under the Speedy Trial Act in all pending criminal cases.

       Counsel for the United States contacted counsel for the defendant, but was unable to learn

whether this motion is opposed.


                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              D.C. Bar No. 415793


                                      By:            /MJF/
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v.                                                    CRIMINAL NO. 21-cr-00198 (TSC)

TROY ANTHONY SMOCKS,

                         Defendant.




                                       PROPOSED ORDER

       Having considered the United States’ motion for status hearing and exclusion of time under

the Speedy Trial Act, as well any materials filed in opposition thereto, it is hereby ORDERED

that the motion be, and hereby is, GRANTED.

       A status hearing shall be scheduled for _____________________, 2021.

       The Court hereby ORDERS that time be excluded in the interests of justice under the

Speedy Trial Act, 18 U.S.C. § 3161(h), until the date of the status hearing. The defendant has filed

a motion to file documents and to reopen hearing, and that motion is currently pending.

Additionally, the parties will require time to exchange additional discovery and to discuss whether

this case will go to trial or be resolved prior to trial. The pandemic further justifies delay of the

trial date, to ensure the safety of the defendant, court staff, witnesses, and the community, as

reflected in the Chief Judge’s orders. The ends of justice served by delay of the trial outweigh the

best interests of the defendant and the public in a speedy trial.

       IT IS SO ORDERED.




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                                  _______________________________
                                  Hon. Tanya S. Chutkan
                                  United States District Judge




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